
The People of the State of New York, Respondent,
againstAlexandria Chandler, Appellant.




Nassau County Legal Aid Society (Jeremy L. Goldberg and Marquetta Christy of counsel), for appellant.
Nassau County District Attorney (Sarah S. Rabinowitz and Mary Faldich of counsel), for respondent.

Appeal from an amended judgment of the City Court of Long Beach, Nassau County (Frank D. DiKranis, J.), rendered March 24, 2016. The amended judgment revoked a sentence of probation previously imposed by that court, upon a finding, after a hearing, that defendant had violated a condition thereof, and resentenced defendant to a term of six months of incarceration, upon her previous conviction of resisting arrest.




ORDERED that the appeal is dismissed.
Defendant appeals from an amended judgment which revoked a sentence of probation previously imposed by the City Court, upon a finding, after a hearing, that defendant had violated a condition thereof, and resentenced defendant to a term of six months of incarceration, upon her previous conviction of resisting arrest (Penal Law § 205.30). It is undisputed that defendant has served her sentence.
"As a general rule, an appellate challenge to the propriety of a violation of probation determination is deemed to be moot if the defendant has served the sentence imposed pursuant to the amended judgment" (People v Concepcion, 41 Misc 3d 1, 3 [App Term, 2d Dept, 9th &amp; 10th Jud Dists 2013]). Issues should only be reviewed where the defendant's contentions represent recurring issues of public interest which would otherwise escape appellate review (see People v Baker, 100 AD3d 1154, 1155 [2012]; People v Smith, 50 Misc 3d 134[A], 2016 NY Slip Op 50043[U] [App Term, 2d Dept, 9th &amp; 10th Jud Dists 2016]; People v Concepcion, 41 Misc 3d at 4). Here, defendant raises no such issue.
Accordingly, the appeal is dismissed as moot.
MARANO, P.J., GARGUILO and RUDERMAN, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: March 22, 2018










